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2/28/2023

Honorable Robert W Gettleman
Northern District of Illinois
219 S Dearborn St
Chicago, IL 60604

Dear Judge Gentleman:

Re: Ron Molo

My name is John Quinn. Along with my only wife, we have raised 3 wonderful almost fully
independent children here in the Joliet community where I have lived in since I was 4. Catholic
school educated through college, I work hard and have been blessed with a very successful
career in Information Technology and Cybersecurity, culminating in responsibility for a global
organizations within multiple startup companies. Recently I’ve been able to begin to transition
from investing myself into companies run by others to opening my own small business, and give
back to the Joliet community that’s given much to my family. Remaining active in my Kid’s
development, I volunteered as a youth sports coach through their elementary schooling at Holy
Family, served as Athletic Director, participated on and led the church communities parish
council, and was an active member in multiple church and school community building campaign
and construction projects. I also served as member and treasure of the Joliet Catholic Academy
Alumni Board.

Ron and I have known each other since having been introduced through Edward Jones as my
account was transferred to his care a couple years after originally opening it with a friend back
in 1998. This initial customer relationship quickly evolved into more as we also worked
together as volunteers at Holy Family Church. We served together on building committee
projects, event planning, and I served with Cathy his wife on parish council. During that time
Ron and Cathy became close friends to my wife and me.

As his customer I always felt he was looking out for the best interest of me and my family. He
would check in regularly, and make recommendations of additional services my family could
benefit from with Edward Jones.

Ron gave his time and talent to the Holy Family Community on the Finance Council as well as
building committees. One major project we did together was when he guided the construction
of our church. His work moved our community from service in a gymnasium into proper
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worship space on time and within budget. Always focused on what was going to be best for the
community, he worked hard and was committed to the goals of each organization where he
volenteered.

I was fortunate to watch Ron as he raised his 2 boys and 1 daughter who were similar in age to
my 2 girls and 1 son. We were able to support each other through the common challenges that
kids provide and give each other valuable advice. While our children went to different schools,
the common connection was our work in the parish community which was a demonstration of
what we both hoped they would aspire to as they grew and could give back in their own ways.

He is a friend who’s been there when I needed someone. He helps me with house projects as
and counseled me with ideas on my own construction project as I constructed a building to
support my recent leap of faith in starting a new dog daycare franchise.

When I learned of the mistakes that Ron had made, I was in shock. It was gut wrenching to me.
I never imagined the person I knew would ever have intentionally deceived anyone. I even said
this out loud to those who asked me what I knew.

During this time of turmoil for he and his family my wife and I have tried to be there for them
emotionally and try not to let this burden become too heavy. Once this process ends regardless
of outcome, we want them in the best place possible to try to rebuild their life and feel OK
about going back to contributing to a community as they once did. We know it won’t be easy.

Prayer led me to forgive Ron for what he did and focus on all the good that I’ve seen him do
and been fortunate to do with him. Others will alienate him, but I don’t believe that’s the way
it should be. I’ve seen his actions of doing good, and I believe in the positive impact he can
have and want to see him have that opportunity again for himself, his family and for the sake of
his community.

In our conversations I can see he still struggles with forgiving himself for his mistakes, but I will
continue to try to be there for him and help him to move on and focus on having faith that God
will help him to see guide him on the right path in the future.

Thank you.

John Quinn
